                  Case 5:10-cr-50060-TLB Document 60                                 Filed 10/29/13 Page 1 of 5 PageID #: 214
AO 245C      (Rev. 09/11) Amended Judgment in a Criminal Case                                                             (NOTE: IdentitY Changes with Asterisks (*»
             Sheet I


                                            UNITED STATES DISTRICT COURT
                         WESTERN                                           District of                                  ARKANSAS
           UNITED STATES OF AMERICA                                                   AMENDED JUDGMENT IN A CRIMINAL CASE
                                V.
            RIGOBERTO CHA VEZ-CUEV AS                                                 Case Number:                     5:10CR50060·001
                                                                                      USM Number:                      08297-010
Date of Original Judgment: January 19,2011                                            Janet Riefkohl Spencer
(Or Date of Last Amended Judgment)                                                    Defendant's Attorney
Reason for Amendment:
D Correction of Sentence on Remand (18 U.S.C. 3742(t)(I) and (2»                      D Modification of Supervision Conditions (18 U.S.c. §§ 3563(c) or 3583(e»
X Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                      D Modification ofImposed Term ofImprisonment for Extraordinary and
    P.35(b»                                                                              Compelling Reasons (18 U.S.C. § 3582(c)(I»
    Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a»                D Modification ofimposed Term ofImprisonment for Retroactive Amendment(s)
                                                                                         to the Sentencing Guidelines (I8 U.S.C. § 3582(c)(2»
D Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                                                                      D Direct Motion to District Court Pursuant D 28 U.S.C. § 2255 or
                                                                                        D 18 U.S.C. § 3559(c)(7)
                                                                                      D Modification of Restitution Order (18 U.S.c. § 3664)
THE DEFENDANT:
X pleaded guilty to count(s) One (1) of the Indictment on August 30, 2010
D pleaded nolo contendere to count(s)
     which was accepted by the court.
D was found guilty on count(s)
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                                 Offense Ended

21 U.S.C. §§ 841 (a)(l)              Conspiracy to Distribute Methamphetamine                                             05/12/2010
and (b)(l)(B)(viii) and 846



       The defendant is sentenced as provided in pages                   _ _=2...:thr=0~uggh=5_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defendant has been found not guilty on count(s)
X Count(s) Nine (9) and Forfeiture Allegation D is X are dismissed on the motion of the United States.
         It is ordered that the defendant must notity the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenaant must notity the court and United States attorney of material changes in economIC circumstances.
                                                                                      October 28, 2013
                                                                                      Date of Imposition of Judgment

                                                                                      lSI Jimm Larry Hendren
                                                                                      Signature of Judge
                                                                                      Honorable Jimm Larry Hendren, United States District Judge
                                                                                      Name and Title of Judge

                                                                                      October 29,2013
                                                                                      Date
              Case 5:10-cr-50060-TLB Document 60                           Filed 10/29/13 Page 2 of 5 PageID #: 215
AO 245C    (Rev. 09111) Amended Judgment in a Criminal Case
           Sheet 2 - Imprisonment                                                                            (NOTE: Identify Changes with Asterisks (*»
                                                                                                      Judgment -   Page _.::.2_ of               5
DEFENDANT:                  RIGOBERTO CHA VEZ-CUEV AS
CASE NUMBER:                5: lOCR50060-00 1

                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:    one hundred thirty-five (135) months*

*The Court grants the Government's Motion for Reduction of Sentence Pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.




       The court makes the following recommendations to the Bureau of Prisons:




X      The defendant is remanded to the custody ofthe United States MarshaL

o      The defendant shall surrender to the United States Marshal for this district:

       D     at                                     D    a.m.      o    p.m.      on
       D     as notified by the United States Marshal.

o      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

             before 2 p.m. on

       o     as notified by the United States Marshal.

       o     as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
I have executed this judgment as follows:




       Defendant delivered on        ________________________________ to

at                                                       with a certified copy of this judgment.




                                                                                                      UNITED STATES MARSHAL

                                                                           By _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                   DEPUTY UNITED STATES MARSHAL
              Case 5:10-cr-50060-TLB Document 60                         Filed 10/29/13 Page 3 of 5 PageID #: 216
AO 245C    (Rev. 09/11) Amended Judgment in a Criminal Case
           Sheet 3 - Supervised Release                                                                    (NOTE: IdentifY Changes with Asterisks (*»

                                                                                                    Judgment-Page _ 3 _ of                     5
DEFENDANT:                RIGOBERTO CHAVEZ-CUEVAS
CASE NUMBER:              5: I OCR50060-00 I
                                                        SUPERVISED RELEASE

Defendant is placed on supervised release for a tenn of: five (5) years which tenn shall commence immediately upon his release
from imprisonment, and which shall be served under the following conditions:


1. It is anticipated that the defendant will be deported by Immigration Authorities following the tenn of imprisonment. Accordingly, if
defendant leaves the United States by way of deportation, or otlierwise, after completion otthe term of imRrisonment and, after such
departure, again re-enters the United States illegally within the period of supervised release the defenoant will then be in immediate
violation of a condition of supervised release. If, prior to any deportation, defendant is released on bond by Immigration Authorities or if,
after deportation, the defendant returns to the United States legally within the period of supervised release - the defendant shall, in either
event, report to the nearest U.S. Probation Office within 72 hours of such release or return

2. In light of the foregoing circumstances, the Court determines that defendant should not be required to comply with the mandatory drug
testing provisions of 18 U.S.c. § 3583(d) and they are not imposed.
3. The defendant shall comply with the DNA collection provisions of 18 U.S.c. § 3583(d).

4. The defendant shall not commit another federal, state, or local crime; the defendant shall possess or use any fireann or other
dangerous device; and the defendant shall not use, possess, or have anything at all to do with any controlled substance.

5. If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
6. The defendant shall comply with the Standard Conditions of Supervised Release as recommended by the United States Sentencing
Commission and as set out below on this page of the judgment, as well as any additional conditions on the attached page.




                                      STANDARD CONDITIONS OF SUPERVISION
  1)   the defendant shall not leave the judicial district without the pennission of the court or probation officer;
  2)   the defendant shall report to the probation officer and shall submit a truthful and complete written report with the first five days of
       each month;
  3}   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)   the defendant shall support his or her dependents and meet other family responsibilities;
  5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
       acceptable reasons;
  6)   the defendant shall notity the probation officer at least ten days prior to any change in residence or employment;
  7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
       controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)   the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
       felony, unless granted pennission to do so by the probation officer;
 10)   the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any
       contraband observed in plain view of the probation officer;
 11)   the defendant shall notity the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
12)    the d~f~ndant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the
       pennlsSlon ofthe court; and
13)    as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
       record1 personal hIstOry, or characteristics and shall permit the probation officer to make such notifications and confinn the defendant's
       compliance with such notification requirement.
              Case 5:10-cr-50060-TLB Document 60                                 Filed 10/29/13 Page 4 of 5 PageID #: 217
AO 245C    (Rev. 09/11) Amended Judgment in a Criminal Case
           Sheet 5   Criminal Monetary Penalties                                                                 (NOTE: Identify Changes with Asterisks (*»
                                                                                                    Judgment - Page            4       of _---:5=---__
DEFENDANT:                       RIGOBERTO CHAVEZ-CUEVAS
CASE NUMBER:                     5: lOCR50060-00l
                                             CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                           Fine                                   Restitution
TOTALS           S   100.00                                          $    40,000.00                         $    -0­


    The determination of restitution is deferred until
    entered after such determination.
                                                              ---. An Amended Judgment in a Criminal Case (AO 245C) will be
o The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    Ifthe defendant makes a partial payment, each payee shall receive an approximately proportioned paytlIent, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
    before the United States is paId.

Name of Payee                                      Total Loss                             Restitution Ordered                  Priority or Percenta~e




TOTALS                                                                                $
                                    $------------------­
o    Restitution amount ordered pursuant to plea agreement $

o    The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
     X the interest requirement is waived for the             X     fme      o restitution.
          the interest requirement for the             fine                restitution is modified as follows:


Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 113A ofTitIe 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
               Case 5:10-cr-50060-TLB Document 60                            Filed 10/29/13 Page 5 of 5 PageID #: 218
AO 245C      (Rev. 09/11) Amended Judgment in a Criminal Case
             Sheet 6 - Schedule of Payments                                                                  (NOTE: Identify Changes with Asterisks (..»
                                                                                                     Judgment -     Page _.:;.5_ of _---'5'--_
DEFENDANT:                  RIGOBERTO CHAVEZ-CUEVAS
CASE NUMBER:                5: IOCRS0060-00 1

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    X     Lumpsumpaymentof$              40,100.00             due immediately, balance due

           D    not later than                                      , or
           X in accordance with D            C,         D,      D   E, or   X F below; or
B          Payment to begin immediately (may be combined with               DC,       o D, or     0 F below); or
C    D     Payment in equal                (e.g., weekly, monthly, quarterly) installments of $                        over a period of
          _ _ _ _ _ (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    0     Payment in equal                (e.g., weekly, monthly, quarterly) installments of $                   over a period of
          _ _ _ _ _ (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    D     Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    X     Special instructions regarding the payment of criminal monetary penalties:
           If not paid immediately, any unpaid financial penalty imposed shall be paid during the period of incarceration at a rate of not less
           than $25.00 quarterly, or 10% of the defendant's quarterly earnings, wnichever is greater. After incarceration, any unpaid financial
           J?enalty shall become a special condition of supervised release and may be paid in monthly installments of not less than 10% of the
           oefendant's net monthly household income, but in no case less than $200.00 per month, with the entire balance to be paid in full
           one month prior to the termination of supervised release.


Unless the court has express Iy ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and corresponding
     payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

     The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
